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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

COUNTY COMMISSIONERS OF THE
COUNTY OF SIERRA, et al.,

             Petitioners,

v.                                                   No. CV 21-611 GBW/CG

UNITED STATES DEPARTMENT OF
THE INTERIOR, et al.,

             Federal Respondents.

     ORDER SETTING EXPEDITED BRIEFING SCHEDULE AND MOTION HEARING

       THIS MATTER is before the Court on Petitioners’ Motion to Complete or

Supplement the Administrative Record or Complete Discovery (the “Motion”), (Doc. 48),

filed November 19, 2021. IT IS ORDERED that Respondents’ response shall be due by

December 3, 2021. Petitioners’ reply, if any, shall be due by December 8, 2021.

       IT IS FURTHER ORDERED that a telephonic motion hearing shall be held on

Monday, December 13, 2021, at 10:00 a.m. MST. The parties shall call Judge Garza’s

AT&T Teleconference line at (877) 810-9415, follow the prompts, and enter the Access

Code 7467959, to be connected to the proceedings

       IT IS SO ORDERED.

                                 ________________________________
                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
